          Case 22-33553 Document 755 Filed in TXSB on 07/03/24 Page 1 of 10




                       THE UNITED STATES BANKRUPTCY COURT
                        FOR THE SOUTHERN DISTRICT OF TEXAS
                                 HOUSTON DIVISION

 In re:                                      §
                                             §           Case No. 22-33553
 ALEXANDER E. JONES                          §           (Chapter 7)
                                             §
          Debtor.                            §


             APPLICATION TO EMPLOY JONES MURRAY LLP
   AS GENERAL BANKRUPTCY CO-COUNSEL FOR THE CHAPTER 7 TRUSTEE


THIS APPLICATION SEEKS AN ORDER THAT MAY ADVERSELY AFFECT YOU. IF
YOU OPPOSE THE APPLICATION, YOU SHOULD IMMEDIATELY CONTACT THE
MOVING PARTY TO RESOLVE THE DISPUTE. IF YOU AND THE MOVING PARTY
CANNOT AGREE, YOU MUST FILE A RESPONSE AND SEND A COPY TO THE
MOVING PARTY. YOU MUST FILE AND SERVE YOUR RESPONSE WITHIN 21-
DAYS OF THE DATE THIS WAS SERVED ON YOU. YOUR RESPONSE MUST STATE
WHY THE APPLICATION SHOULD NOT BE GRANTED. IF YOU DO NOT FILE A
TIMELY RESPONSE, THE RELIEF MAY BE GRANTED WITHOUT FURTHER
NOTICE TO YOU. IF YOU OPPOSE THE APPLICATION AND HAVE NOT REACHED
AN AGREEMENT, YOU MUST ATTEND THE HEARING. UNLESS THE PARTIES
AGREE OTHERWISE THE COURT MAY CONSIDER EVIDENCE AT THE HEARING
AND MAY DECIDE THE APPLICATION AT THE HEARING.

REPRESENTED PARTIES SHOULD ACT THROUGH THEIR ATTORNEY.

TO THE HONORABLE CHRISTOPHER M. LOPEZ,
UNITED STATES BANKRUPTCY JUDGE:

          Christopher Murray, the chapter 7 trustee (the “Trustee”) for bankruptcy estate of

Alexander E. Jones aka Alex Jones (the “Debtor” or “Alex Jones”), files this Application to

Employ Jones Murray LLP as General Bankruptcy Co-Counsel for the Chapter 7 Trustee (the

“Application”) and the Declaration of Erin E. Jones (“Jones Declaration”) attached as Exhibit

1, and respectfully shows the Court the following:




APPLICATION TO EMPLOY JONES MURRAY LLP AS CO-COUNSEL                            PAGE 1 OF 10
        Case 22-33553 Document 755 Filed in TXSB on 07/03/24 Page 2 of 10




                                     RELIEF REQUESTED

        1.       Upon conversion of this bankruptcy case to chapter 7, the Trustee required

immediate assistance from Jones Murray LLP (“Jones Murray”)—a firm in which he is an equity

partner— and Porter Hedges LLP (“Porter Hedges”), 1 (together, the “Firms”), to address

immediate and complex legal concerns. The Trustee anticipates that the continued coordination of

the Firms’ efforts is necessary and will greatly aid in the efficient and effective administration of

the estate.

        2.       The Trustee seeks to retain Jones Murray as general bankruptcy co-counsel on an

hourly fee basis, effective June 14, 2024, when the Jones Murray first began providing legal

services. The Trustee believes that retaining Jones Murray as co-counsel is in the best interest of

the estate and its creditors.

        3.       The Trustee respectfully requests that the Court enter an order, substantially in

the form of the proposed order attached hereto, authorizing him to employ Jones Murray as general

bankruptcy co-counsel under the terms set forth in this Application and pursuant to 11 U.S.C. §§

327(a), 330, 331, and 704(a) of the Bankruptcy Code, Bankruptcy Rules 2014, 2016, and 6003,

and Bankruptcy Local Rule 2014-1.

                                         JURISDICTION

        4.       The Court has jurisdiction under 28 U.S.C. § 1334. This is a core proceeding

under 28 U.S.C. § 157(b). Venue is proper under 28 U.S.C. §§ 1408-09.

        5.       This Court has constitutional authority to enter a final determination on this matter

under Stern v. Marshall because employment of professionals by a bankruptcy trustee is “derived


1
  The Trustee seeks employment of Porter Hedges as bankruptcy co-counsel by separate
application.


APPLICATION TO EMPLOY JONES MURRAY LLP AS CO-COUNSEL                                    PAGE 2 OF 10
          Case 22-33553 Document 755 Filed in TXSB on 07/03/24 Page 3 of 10




upon bankruptcy law” and the “bankruptcy itself.” Stern v. Marshall, 131 S. Ct. 2594, 2618 (2011).

                                        CASE BACKGROUND

          6.        On July 29, 2022, the Debtor’s company Free Speech System LLC (“FSS”) filed

for relief under chapter 11 of the Bankruptcy Code (the “FSS Bankruptcy”). 2

          7.        On December 2, 2022 (“Petition Date”) the Debtor filed his individual

bankruptcy case seeking relief under chapter 11 of the Bankruptcy Code (the “Alex Jones

Bankruptcy”).

          8.        Both bankruptcy cases involve many of the same parties, including litigation

creditors, and overlapping disputes and issues.

          9.        On June 5, 2024, the Alex Jones filed his Motion for Entry of an Order Converting

Debtor’s Chapter 11 Case under Chapter 7 of the Bankruptcy Code [DE 684] (“Motion to

Convert”) seeking conversion of his individual case from a chapter 11 proceeding to one under

chapter 7. On June 14, 2024, the Court entered an Order Converting Debtor’s Chapter 11 Case to

a Case Under Chapter 7 of the Bankruptcy Code [DE 708] (“Conversion Order”). Christopher

Murray was duly appointed as the chapter 7 trustee for the bankruptcy estate of Alex Jones

(the “Estate”).

          10.       Also on June 14, 2024, the Court entered an Order [DE 956] in the FSS

Bankruptcy Case dismissing FSS’s bankruptcy proceeding (the “Dismissal Order”). In the

Dismissal Order, the Court directed the CRO to transfer control and signing authority with respect

to FSS’s bank accounts to Chrisopher Murray, in his capacity as the Trustee for the Alex Jones

estate. The Court also retained exclusive jurisdiction over various matters.




2
    Bankruptcy Case No. 22-60043 (Bankr. SDTX).



APPLICATION TO EMPLOY JONES MURRAY LLP AS CO-COUNSEL                                   PAGE 3 OF 10
       Case 22-33553 Document 755 Filed in TXSB on 07/03/24 Page 4 of 10




       11.      The Trustee promptly identified that he would require immediate assistance from

legal counsel to advise him on the various and complex legal issues related to both the Alex Jones

Bankruptcy and FSS.

       12.      The Trustee first requested legal assistance from Jones Murray due to their

integration with the Trustee, ability to provide immediate assistance, and experience representing

chapter 7 trustees in complex matters. Shortly thereafter, the Trustee reached out to Porter Hedges

for assistance having identified the need for additional counsel due to the facts and circumstances

presented in the case. With assistance of the Firms, the Trustee and his proposed counsel engaged

in extensive discussions with the many parties and key stakeholders involved in both the Alex

Jones Bankruptcy and FSS Bankruptcy.

       13.      Since then, the Trustee and his proposed counsel have been in a continuous and

non-stop process of evaluating and prioritizing matters that need to be addressed in the Jones

Bankruptcy and those matters retained by the Court relating to the FSS Bankruptcy, including but

not limited to the assets and claims of Jones and FSS, pending litigation, and addressing emergency

issues that arose in the first days and weeks after conversion of the Jones Bankruptcy and dismissal

of the FSS Bankruptcy.

       14.      Accordingly, the Trustee believes that retaining Jones Murray as general

bankruptcy co-counsel is necessary to assist him in all aspects of administering the Estate and its

assets, to evaluate and resolve claims against the Estate, to evaluate claims and causes of action

against third parties in adversary proceedings and proceedings in other courts, to prepare and

prosecute contested matters, and to otherwise advise him as requested and as needed with respect

to any and all matters necessary for the Trustee to administer the Estate.




APPLICATION TO EMPLOY JONES MURRAY LLP AS CO-COUNSEL                                  PAGE 4 OF 10
       Case 22-33553 Document 755 Filed in TXSB on 07/03/24 Page 5 of 10




          EMPLOYMENT OF JONES MURRAY AS GENERAL CO-COUNSEL

       15.       Section 327(a) of the Bankruptcy Code authorizes a trustee to employ attorneys

that do not hold or present an interest adverse to the debtor’s estate and that are “disinterested”

persons, as defined by the Bankruptcy Code, to assist him with his duties. The Trustee’s retention

of Jones Murray as general bankruptcy co-counsel is necessary to enable the Trustee to fulfill his

duties under the Bankruptcy Code and is in the best interests of the Estate and its creditors.

   A. Qualifications.

       16.       Jones Murray is a bankruptcy and litigation boutique with its office in Houston,

Texas. Jones Murray regularly represents trustees, Debtor, committees, creditors, and other

interested parties in cases in the Southern District of Texas as well as other districts in Texas and

across the United States. Jones Murray and its attorneys have successfully represented other

Southern District of Texas chapter 7 panel trustees in dozens of cases, including but not limited to

Rodney Tow, Allison Byman, Janet Northrup, and Ronald Sommers. Jones Murray and its

attorneys have served as general and special bankruptcy counsel across dozens of cases. Jones

Murray’s attorneys have represented chapter 7 panel trustees in all types of chapter 7 cases,

including many large complex matters. Jones Murray and their professionals have experience with

many of the types of issues and concerns presented in the Alex Jones Bankruptcy, having

successfully represented Debtor, trustees, and other involved parties in similarly complex matters.

       17.       The Trustee is a partner at Jones Murray. The Trustee anticipates that Erin E.

Jones will be the lead attorney from Jones Murray on this engagement with the assistance of

associate attorney Jacqueline Q. Chiba.

       18.       Ms. Jones is a partner at Jones Murray and is well qualified having over 20-years

of experience representing trustees in bankruptcy and other courts in the Southern District of Texas



APPLICATION TO EMPLOY JONES MURRAY LLP AS CO-COUNSEL                                   PAGE 5 OF 10
       Case 22-33553 Document 755 Filed in TXSB on 07/03/24 Page 6 of 10




and across the United States. Ms. Jones is board certified by the Texas Board of Legal

Specializations in Business Bankruptcy and has successfully represented clients across similarly

complex matters. Ms. Chiba is an associate with experience representing bankruptcy trustees and

other interested parties in bankruptcy matters. Both Ms. Jones and Ms. Chiba are members in good

standing for the Bar of the State of Texas. To the extent necessary, Christopher Murray may

provide legal services that are distinct from his duties as Trustee. To the extent necessary, other

Jones Murray attorneys or para-professionals may be asked to provide legal services in this matter.

       19.       The Trustee certifies that Jones Murray is not being employed to perform any

duties required of the Trustee in his capacity as a chapter 7 trustee, and Jones Murray certifies that

it will not seek compensation as legal counsel for any trustee duties, even where Jones Murray

personnel might assist the Trustee with those duties. With respect to those duties required to be

performed by a trustee, the Trustee will look only to the compensation provided for such services

under section 326(a).

       20.       Since the Trustee’s request for immediate assistance on June 14, 2024, Jones

Murray has become well acquainted with the details of the case, including the Debtor’s

involvement in the business affairs of FSS, and is aware of many of the potential legal issues that

are present and may arise through this bankruptcy proceeding.

       21.       The Trustee has determined in his business judgment that retention of Jones

Murray as general co-counsel is in the best interests of the Estate and its creditors. While there are

many firms in the Southern District of Texas that are competent to handle this type of work, the

Trustee’s prior experience leads him to believe that Jones Murray’s services will be more cost-

effective and efficient due to the firm’s integration with the Trustee and due to his need for

immediate assistance.



APPLICATION TO EMPLOY JONES MURRAY LLP AS CO-COUNSEL                                    PAGE 6 OF 10
       Case 22-33553 Document 755 Filed in TXSB on 07/03/24 Page 7 of 10




   B. Scope of Services.

       22.        Jones Murray will work at the supervision and direction of the Trustee and will

work, communicate, and coordinate closely with Porter Hedges as co-counsel to avoid duplication

of services to the furthest extent possible.

       23.        The Trustee seeks to employ Jones Murray as his general bankruptcy co-counsel

to provide legal services that may include but is not limited to:

             a. Advising the Trustee in identifying and evaluating any potential
                assets of the Estate;
             b. Assisting the Trustee in evaluating and objecting to claims filed in
                the Estate;
             c. Assisting the Trustee in evaluating and responding to pleadings filed
                in the case or related-proceeding, and to handle representation of the
                Estate in any contested matter;
             d. Advising generally on the Trustee’s rights, power and duties in the
                administration of the Estate;
             e. Assisting the Trustee with any retention of professionals to assist in
                the liquidation of Estate’s assets;
             f. Investigating and litigating claims arising under chapter 5 of the
                Bankruptcy Code; and
             g. Investigating on a preliminary basis, other causes of action and
                assisting the Trustee in identifying and evaluating independent law
                firms to pursue any potentially valuable claims.

   C. Disinterestedness.

       24.        Jones Murray has conducted a diligent inquiry and, except as disclosed in the

Jones Declaration, has found no connection with the Debtor, any creditors appearing in the

schedules or otherwise in the record in the case, any other known party-in-interest, their respective

attorneys and accountants, the United States Trustee, or any person employed in the office of the

United States Trustee. Based upon the Jones Declaration, the Trustee submits that Jones Murray

is a “disinterested person” as that term is defined in § 101(14) of the Bankruptcy Code. To the




APPLICATION TO EMPLOY JONES MURRAY LLP AS CO-COUNSEL                                     PAGE 7 OF 10
       Case 22-33553 Document 755 Filed in TXSB on 07/03/24 Page 8 of 10




extent the Trustee’s partial ownership of Jones Murray may create an interest adverse to the Estate

and its creditors, it is a potential conflict addressed and specifically allowed by Congress. See 11

U.S.C. § 327(d)(“The court may authorize the trustee to act as attorney or accountant for the estate

if such authorization is in the best interest of the estate.”).

        25.      If any new relevant facts or relationships are discovered, Jones Murray will use

reasonable efforts to promptly file a supplemental declaration as required by Bankruptcy Rule

2014(a).

        26.      Based on the Jones Declaration, the Trustee believes that Jones Murray is in

compliance with the requirements of §§ 327(a), 329 and 504 of the Bankruptcy Code and

Bankruptcy Rules 2014 and 2016.

    D. Compensation.

        27.      The professional services of Jones Murray are necessary to ensure that all matters

related to the Alex Jones Bankruptcy are handled in a diligent and expeditious manner. The

employment of Jones Murray by the Trustee would be, in all respects, including duration, subject

to an order of this Court authorizing such employment.

        28.      Jones Murray would seek reasonable compensation and reimbursement of

expenses from the Estate, in accordance with general orders and fee guidelines of this Court,

Sections 330 and 331 of the Bankruptcy Code, the Bankruptcy Rules, the Local Rules, and any

other orders of the Court.

        29.      Jones Murray and will charge the Trustee for its legal services on an hourly basis

in accordance with each firm’s ordinary and customary rates for matters of this type and will seek

reimbursement of all actual costs and expense incurred in connection with respect to the matters it

is being retained. Attached as Exhibit 2 is the Engagement Letter with the proposed terms of this



APPLICATION TO EMPLOY JONES MURRAY LLP AS CO-COUNSEL                                  PAGE 8 OF 10
       Case 22-33553 Document 755 Filed in TXSB on 07/03/24 Page 9 of 10




engagement.

           30.   Jones Murray practices in a national marketplace for legal services in which rates

are driven by multiple factors relating to the individual lawyer, his or her area of specialization,

the firm’s expertise, performance, and reputation, the nature of the work involved, and other

factors.

           31.   Jones Murray has agreed to charge rates in this matter similar to what the firm

would charge other clients for the same or similar work in effect on the date such services are

rendered. These rates are set at a level designed to fairly compensate Jones Murray for the work

of its attorneys and paralegals and vary depending on the experience and expertise of the

professional. Jones Murray’s rates are well within the range of rates charged by similarly qualified

firms in this District. The customary hourly rates are summarized in the table below:

                       Attorneys               Title           Hourly Rate
                       Erin E. Jones (lead)    Partner         $750
                       Christopher Murray      Partner         $750
                       Jacqueline Q. Chiba     Associate       $495

                      Other Professionals                      Hourly Rate
                      Paralegal                                $95 to $200

           32.   Any additional Jones Murray billing professional working on this matter will not

charge a rate that exceeds the rates set forth in this Application.

           33.   Jones Murray typically adjust its hourly rates on an annual basis, however, Jones

Murray will not charge the Trustee rates higher than those set forth under this Application without

first seeking authority from the Court.

           34.   Jones Murray will also seek reimbursement for reasonable out-of-pocket expenses

at actual cost in the manner and at the rates consistent with the charges made generally to the firm’s

other clients.


APPLICATION TO EMPLOY JONES MURRAY LLP AS CO-COUNSEL                                    PAGE 9 OF 10
      Case 22-33553 Document 755 Filed in TXSB on 07/03/24 Page 10 of 10




       35.      Pursuant to Bankruptcy Rule 2016(b), Jones Murray has not entered into any

agreement to share (a) any compensation it has received or may receive with another party or

person, other than with the partners, counsel, associate, contract attorneys, and other personnel

associated with the firm or (b) any compensation another person or party has received.

                                    NO PRIOR REQUEST

       36.      No prior motion or application for the relief requested herein has been made to

this Court or any other court.

                                           PRAYER

       The Trustee respectfully asks that this Court grant the relief requested and any such other

relief as the Court deems appropriate.

Dated: July 2, 2024                                 Respectfully submitted,
                                                    /s/ Christopher Murray
                                                    Christopher Murray, Trustee
                                                    Texas Bar No. 24081057
                                                    chris@jonesmurray.com
                                                    602 Sawyer Street, Suite 400
                                                    Houston, TX 77007
                                                    Tel. (832) 529-3027
                                                    Fax. (832) 529-3393
                                                    The CHAPTER 7 TRUSTEE
                                                    FOR BANKRUPTCY ESTATE OF
                                                    ALEXANDER E. JONES


                                 CERTIFICATE OF SERVICE

        Pursuant to Bankruptcy Local Rule 9003-1, I hereby certify that on July 2, 2024 this
document was served electronically on the U.S. Trustee and all parties registered to receive such
service through the CM/ECF notification system in this case.

                                                    /s/ Christopher Murray
                                                    Christopher Murray




APPLICATION TO EMPLOY JONES MURRAY LLP AS CO-COUNSEL                               PAGE 10 OF 10
